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NA/57609516v.1


                                                            1
                                                                                      Jones v. LaMarque000001
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Case Information

22-CV-2219 | ADRIAN JONES, ET AL vs. CITY OF LA MARQUE, Et Al

Case Number                          Court                      Judicial Officer
22-CV-2219                           122nd District Court       Jones, Jeth
File Date                            Case Type                  Case Status
11/21/2022                           Other Civil - Cases        Active




Party

Plaintiff                                                       Active Attorneys 
JONES, ADRIAN                                                   Lead Attorney
                                                                Lewis, U.A.
                                                                Retained




Administrator of the Estate                                     Active Attorneys 
JONES, ADRIAN                                                   Lead Attorney
                                                                Lewis, U.A.
                                                                Retained




Plaintiff                                                       Active Attorneys 
The Estate of Joshua Feast                                      Lead Attorney
                                                                Lewis, U.A.
                                                                Retained




Defendant
CITY OF LA MARQUE




Defendant
SANTOS, JOSE
                                                                    Jones v. LaMarque000002
         Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 3 of 45



Defendant
Jackson, Chief Kirk




Events and Hearings


  11/21/2022 Original Petition - OCA 


  JOSHUA FEAST COMPLAINT.pdf

     Comment
     PLAINTIFF S ORIGINAL PETITION


  11/22/2022 Status Conference Sheet 


  Status Conference Sheet

     Comment
     Emailed to Attorney


  11/22/2022 Receipt Acknowledge 


  Receipt Acknowledge

     Comment
     Re: Delivery of S.C Sheet


  11/22/2022 Request for Civil Service 


  1 Citation to Issue assigned to EA / City of Lamarque.pdf

     Comment
     1 Citation to Issue assigned to EA / City of La Marque


  11/22/2022 Request for Civil Service 


  1 Citation to Issue assigned to EA/ Santos.pdf

     Comment
     1 Citation to Issue assigned to EA /Santos


  11/22/2022 Request for Civil Service 




                                                               Jones v. LaMarque000003
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  1 Citation to issue assigned to EA /Chief Kirk Jackson .pdf

     Comment
     1 Citation to issue assigned to EA /Chief Kirk Jackson


  11/29/2022 Citation Issuance - Work Product 


  Citation Issuance - Work Product

     Comment
     3 citations issued and mailed to attorney


  02/23/2023 Status Conference 


  Judicial Officer
  Jones, Jeth

  Hearing Time
  9:30 AM




Financial

No financial information exists for this case.




Documents


  JOSHUA FEAST COMPLAINT.pdf

  Status Conference Sheet
  Receipt Acknowledge

  1 Citation to Issue assigned to EA / City of Lamarque.pdf
  1 Citation to Issue assigned to EA/ Santos.pdf
  1 Citation to issue assigned to EA /Chief Kirk Jackson .pdf

  Citation Issuance - Work Product




                                                                Jones v. LaMarque000004
      Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 5 of Filed:
                                                                          45 11/21/2022 11:59 PM
                                                                               JOHN D. KINARD - District Clerk
                                                                                     Galveston County, Texas
                                                                                      Envelope No. 70385076
                                                                                             By: Rolande Kain
                                                                                          11/22/2022 8:50 AM
                                           22-CV-2219
                                 Case No. ______________

ADRIAN JONES,                              §     IN THE DISTRICT COURT
PLAINTIFFS,                                §
                                           § Galveston County - 122nd District Court
V.                                         §     ________JUDICIAL DISTRICT
                                           §
CITY OF LA MARQUE, AND                     §
JOSE SANTOS                                §     GALVESTON COUNTY, TEXAS
DEFENDANTS.

                         PLAINTIFF’S ORIGINAL PETITION

     This is an action brought by Plaintiffs, Adrian Jones, individually and on behalf of the

heirs of Joshua Feast as beneficiaries of is survival claims deceased. Plaintiffs

respectfully come before this Honorable Court pursuant to 42 U.S.C. §1983 and Texas

Wrongful Death and survivorship statute, pursuant to 42 U.S.C. §1988 complaining

through plausible, detailed, and specific facts that defendants, Jose Santos, and Chief

Jackson acted under color of state law and unreasonably deprived Joshua Feast,

deceased, of his clearly established rights secured by the United States Constitution,

Fourth and Fourteenth Amendments, to remain free from unreasonable seizure and injury

against Defendants City of La Marque, Jackson, and Jose Santos. Plaintiffs specifically

allege the following:


                                    I. INTRODUCTION

1.      This civil rights and state tort action seeks compensatory and punitive damages

from defendants for violating various rights under the United States Constitution in

                     Status Conference Set For 02/23/2023


                                                                    Jones v. LaMarque000005
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connection with the fatal officer-involved shooting death of Plaintiff’s son, Mr. Joshua

Feast, Sr. (“Joshua”), on December 9, 2020.

2.    The homicide of Joshua Feast at the hands of Jose Santos was preventable. Santos

was negligently hired and not properly supervised, trained, or disciplined by La Marque

Police Department.

3.    He was specifically not trained in the use of deadly force.

4.    There have been many instances of Santos' use of force against citizens without

provocation in the past before the encounter with Joshua Feast.

5.    La Marque Police Department Officer Jose Santos shot Joshua Feast in the back at

close range and killed Mr. Joshua Feast without lawful justification. Joshua was not a

threat to Santos or anyone at the time the violent homicide occurred.

6.    Santos shot Joshua in the back as Joshua was running away, and his back was

turned. After Josh fell to the ground, Santos kicked Joshua but failed to render aid. He

did not call for emergency services. The neighbors called for aid, but it was too late

because the shot was fatal. His child's mother was a witness to the shooting resulting in

in her own mental anguish. Officer Santos stalked and harassed Joshua Chief Jackson

7.    Before Defendant Santos shot Joshua Feast--a 22-year-old son and young father n-

- had been simply driving a female to McDonald’s. Joshua committed no crimes at all.

He poses no immediate threat of harm.

8.    Because of his status as a police officer, the district attorney’s office held

Defendant Jose Santos accountable for his actions. Although grand jury proceedings




                                                                    Jones v. LaMarque000006
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commenced against Jose Santos based on the Harris County District Attorney’s

reasonable suspicion that Santos committed a crime related to the shooting, the grand

jury no billed him.

9.     Santos remained with the La Marque Police department and was promoted to

sergeant.

10.    Jose Santos was on fair notice that his conduct in shooting Joshua in the back as

he fled on December 9, 2020, was unlawful based on the situation Santos confronted, a

non-threatening citizen who was running away and did not disregard any complaints,

under Tennessee v. Garner, 471 U.S. 1(1985).

11.    Clearly established law prohibited Jose Santos from using deadly force by

shooting Joshua in the back as he ran from the scene.

12.    Rules that prohibited Jose Santos from shooting Joshua in the back.

13.    The City of La Marque gave Jose Santos a promotion related to the killing of

Joshua.


Reginald Deon Davis


14.    Tragically, the shooting of Joshua Feast was not an isolated excessive force

incident by Santos.

15.    Before joining the La Marque police department, Santos was an officer with the

Galveston police department but was forced to resign as a result of his use of excessive

force against a citizen,




                                                                Jones v. LaMarque000007
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16.    On March 19, 2013, Santos tasered and beat Mr. Davis after officers chased him

onto the beach, discharged his Taser, striking Mr. Davis in the back and knocking him to

the ground. Mr. Davis stumbled to his feet before quickly being tackled by Officer

Santos, who held Mr. Davis face down on the sand at the edge of the water. and forcibly

submerged his head in the tide while kicking him in the head. A video taken from a

police dash camera captured those events. It showed that Officer Santos was able to

restrain Mr. Davis, who is seen lying on his stomach and does not appear to resist until a

wave from the rising tide submerges his face underwater, and it becomes clear that he is

in fear of drowning. Santos struck Mr. Davis's head numerous times with his fists.

17.    During this entire incident, Mr. Davis can be heard yelling, 'I can't breathe' and

'You're trying to drown me.' While beating him, Santos intentionally falsely accused Mr.

Davis of resisting to justify the unreasonable use of force, but the video captured what

was actually occurring that Mr. Davis was forced to resist to avoid drowning from his

head being forced underwater. Pictures of Mr. Davis after his arrest show significant

bruising and swelling to his face, and his arm, which was visibly injured prior to his

arrest, appears to have been put in a sling.


Demarcus Chatmon


18.    On or about November 18, 2014, Demarcus Chatmon, an African- American

male, was a passenger in a vehicle. La Marque police Department officer Jose Santos

stopped the vehicle. Chatmon was ordered to get out of the vehicle. As he complied with




                                                                 Jones v. LaMarque000008
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Santos' order and exited the vehicle, Chatmon was viciously attacked by Santos. He was

thrown to the ground and brutally pushed, punched, and kneed. Santos shot Chatmon

with a taser and applied pressure to Chatmon's back with his knee. Chatmon could not

breathe. During the beating, Mr. Chatmon lost several teeth as a result of the attack. Mr.

Chatmon also was not a threat to Santos or anyone else, just as was the case with

Santos’s other victims.

19.    After leaving the Galveston County police department, La Marque Police

department hired Santos despite his history of violating the civil rights of Mr. Davis, and

Chatmon and Santos attempting to kill them both.

20.    The City of La Marque has a rash of police-involved shootings where officers

have not been disciplined by its chief of police Chief Kirk Jackson.

21.    In the past, on December 4, 2017, prior to the 2020 use of deadly force on Joshua

Feast, LMPD officer Santos killed a senior citizen, Gregory Ray Ham, who was a 67-

year-old white male. Santos alleged Mr. Ham was a threat to him, but his body-worn

camera footage contradicts his representation that the senior was a threat. Nonetheless,

Santos Shot and killed Mr. Ham at close range without warning, as was the case with

Joshua 3 years and four days later.

22.    No officer was terminated or disciplined in any of the named instances and

disputed the dishonest and contradicting accounts, by Chief Kirk Jackson.

23.    The City of La Marque has ratified this conduct by its officers, including Santos,

by either doing nothing or awarding as they did Jose Santos, a promotion in direct




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connection with the shooting of Joshua. And, like Defendant Santos, the City has not

been held accountable for its actions (and inactions) concerning the shooting of unarmed

individuals by its officers.

24.      This action, brought under 42 U.S.C.§1983, seeks justice and accountability for

the wrongful, unjustified killing of Joshua and seeks to deter the practice of wrongful,

unjustified shootings of others at the hands of the La Marque Police Department.

25.      Decedent Mr. Joshua Feast was an individual residing in the City of La Marque,

Texas.

26.      The City of La Marque failed to submit a custodial death report.


                               II. PARTIES AND SERVICE


27.      Plaintiff Adrian Jones., is an individual residing in the City of La Marque,

Texas, and is the natural father of Joshua. Mr. Jones sues both in his individual capacity

as the son of Joshua and in a representative capacity as an administrator of the Estate of

Joshua pursuant to Texas Estate Code §301. Joshua seeks both survival and wrongful

death damages under federal and state law.

28.      Plaintiff, The Estate of Joshua Feast represents the property and legal interests

of Joshua. Joshua Feast, Sr,

29.      Defendant, City of La Marque (“City”), is and was a duly organized public

entity existing under the laws of the State of Texas. A city is a chartered subdivision of

the State of Texas with the capacity to be sued. City is a Texas municipal corporation




                                                                   Jones v. LaMarque000010
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that operates the La Marque Police Department (the “LMPD '' or “Department”), which

in turn sets city-wide policy for police officers employed by the Department. The city is

responsible for the actions, omissions, policies, procedures, practices, and customs of its

various agents and agencies, including the City of La Marque Police Department and its

agents and employees. At all relevant times, Defendant City was responsible for assuring

that the actions, omissions, policies, procedures, practices, and customs of the City of La

Marque Police Department and its employees and agents complied with the laws of the

United States and of the State of Texas. The City of La Marque, Defendant, is sued in its

official capacity and subjected to monetary damage claims under 42 U.S. C.§ 1983

because its official policy or custom caused Joshua, Sr., to be deprived of state1 and

federally protected rights. At all relevant times, City was the employer of Defendant Jose

Santos.

30.     Defendant, Jose Santos is a police officer working for the City of La Marque

Police Department. The officer defendant was acting under the color of law in his

individual capacity as an LMPD officer. Santos was acting within the course and scope

of his duties as an officer for the City of La Marque Police Department. At all relevant

times, the officer defendant acted with the complete authority and ratification of their

principal, Defendant City of La Marque. In 2014, Jose Santos was hired by La Marque

Police after being terminated by the Galveston Police department after trying to kill and

violate the rights of another individual.


1 3 Monell v. Dept of Social Services, 436 U.S. 658, 694(1978)




                                                                  Jones v. LaMarque000011
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31.     Defendant, Chief Kirk Jackson, works for the City of La Marque Police

Department as the chief of police. The officer defendant was acting under the color of

law in his individual capacity as an LMPD officer. Santos was acting within the course

and scope of his duties as an officer for the City of La Marque Police Department. At all

relevant times, the officer defendant acted with the complete authority and ratification of

their principal, Defendant City of La Marque.


                          III. JURISDICTION AND VENUE


32.     This Court has original jurisdiction pursuant to 28 U.S.C. §§1331 and 1343(a) (3)-

(4) because the Plaintiffs assert claims arising under the laws of the United States,

including 42 U. S. C. § 1983 and the Fourth and Fourteenth Amendments of the United

States Constitution and supplemental jurisdiction for all state law claims.

33.     Venue is proper under 28 U.S.C. §1391(b) because Defendants reside in this

district, and all incident events and occurrences giving rise to this action occurred in this

district.


               IV. FACTS COMMON TO ALL CLAIMS FOR RELIEF


34.     This is a civil rights action brought by Adrian Jones on behalf of himself and the

heirs of his son, Mr. Joshua Feast, Sr., for damages for violation of constitutional rights

based on Fourth and Fourteenth Amendment violations and Equal Protection and Texas

Law wrongful death and survivorship.



                                                                   Jones v. LaMarque000012
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35.      On December 9, 2020, Joshua had the clearly established rights under the Fourth

and Fourteenth Amendments to the United States Constitution to be free from excessive

force, illegal search and seizure, and to be free from illegal arrest2.

36.      Officer Santos approached Joshua Feast at night, but Santos did not identify

himself as a police officer; he did not have his lights or sirens activated.

37.      He never identified Joshua prior to shooting him.

38.      Santos never commanded Joshua to stop running or warn that he was being

detained and would be shot.

39.      Joshua did not have a gun on his person when he ran from the truck that he was

leaning into and talking to his child’s mother and was unarmed.

40.      Joshua was not engaged in any criminal conduct, importantly Joshua was not

committing a felony when he fled from the unidentified Santos.

41.      There was no warrant from Galveston County for Joshua’s arrest when homicidal

conduct driven by “roid rage” against the young African American man simply because

he was African American occurred by Santos.

42.      Santos is known in the community for his steroid-driven conduct that manifests in

the form of aggression and violence.

43.      The predominantly Black community was policed by officers of the LMPD, on

December 9, 2020.


2Khansari v. City of La Marque, (S.D. Tex. 2014); Deville v. Marcantel, 567 F. 3d 156, 167 (5th Cir. 2009): Tolan v. Cotton, 572
U.S. 650 (2014); Baker v. Putnal, 75 F. 3d 190, 196( 5th Cir. 1996)
Tennessee v. Garner, 471 U.S. 1, 4 (1985), and Graham v. Connor, 490 U.S 386, 396 (1989) Hunter v. Cole, 137 S. Ct. 497 (2016,
writ denied) Kost v. Cotto,1:19-cv-25-RP (U.S. District. Ct. W.D. Texas 2020).




                                                                                             Jones v. LaMarque000013
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44.       Joshua Feast was stopped on account of his race, and Santos’s use of deadly force

against Joshua was unjustified and unlawful in violation of equal protection clause.

45.      Regarding the facts surrounding Defendant Santos stop of Joshua Feast on

account of his race and Santos’ decision to shoot and kill Joshua Feast

46.      Santos fired at Josh once in the back as Josh ran away.

47.      Joshua was not given a verbal warning by Santos before the shooting that Santos

would fire his weapon.

48.      Joshua never threatened Santos or posed an immediate threat of harm to the safety

of Officer Santos, or anyone.

49.      Joshua never made a provocative gesture towards Santos.

50.      Joshua never pointed a gun or anything toward Santos.

51.      Officer Santos had the time and opportunity to give a warning to Joshua.

52.      Upon making contact with Joshua, Santos unholstered his weapon but did not

have his emergency lights or sirens turned on.

53.      Joshua did not have a gun in his pocket, and no gun belonging to Joshua was

found on his person at any time.

54.      Joshua dropped the weapons he had long before Santos shot him in the back, as

Santos acknowledged that Joshua had dropped the weapon the moment he ran from the

car.

55.      After Officer Santos fatally shot Joshua in the back.

56.      Life-saving measures were not applied to Joshua.




                                                                   Jones v. LaMarque000014
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57.     Defendant Santos failed to provide medical aid to Joshua after he shot Joshua in

the back before the EMS arrived on the scene.

58.     Joshua was unarmed when he was shot.

59.     Officers Jose Santos lied about what happened and reported Joshua pointed a

weapon at him and fabricated evidence.

60.     In spite of the fact that the statement conflicted with the video body-worn camera

evidence, The City of La Marque, chief Jackson ratified Santos's action rather than

disciplining Santos.

61.     Despite being aware of the contradictions involving the death of Joshua, The City

of La Marque awarded with a pay increase and promotion after shooting of Joshua.

62.     The City of La Marque promoted Jose Santos after the other acts of excessive

force against others prior to shooting and killing Joshua.




                                                                 Jones v. LaMarque000015
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63.      To that end, Defendant Santos was wearing his Department-issued uniform,

wearing an LMPD badge or insignia, armed with his service weapon, and acting in full

capacity as a La Marque Police Department officer.

64.      Officer Santos racially profiled Joshua as he has in the past. Santos approached

Joshua with guns pointed.

65.      Joshua was not told the purpose of the encounter he was met with Santos and the

barrel of Santos’s gun, Joshua ran for his life, rightfully so.

66.      Joshua did not make an overt act with a gun toward Santos with a weapon.

67.      Santos did not employ any de-escalation techniques during the stop; due to lack or

poor training in de-escalation.

68.      Jose Santos knew Joshua did not pose a threat of harm to him or others. Jose

Santos chose to impose a death sentence on Joshua.

69.      In the wake of this unjustified shooting, Joshua did not die immediately. In these

moments, Joshua experienced unspeakable pain due to the gunshot wounds to his back.

70.      He was moaning from the conscious pain and suffering.

71.      Adding insult to fatal injury-Defendant Santos handcuffed Joshua. He was left to

die.

72.      City of La Marque LMPD officials have established a custom of condoning lethal

use of force by ruling all intentional shootings to be justified - even when an officer's

statements conflict with other evidence or independent witness accounts.

73.      The City's refusal to supervise its officers’ use of force amounts to deliberate




                                                                  Jones v. LaMarque000016
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indifference.


74.     After the shooting, Defendant Santos falsely told authorities and investigators he

shot Mr. Joshua Feast because he pointed a weapon at him while running away and

pointing the gun backward toward him. After Joshua was fatally wounded, Santos

promptly acknowledged Joshua dropped his gun. Joshua dropped his gun before Santos

decided to shoot Joshua for running away from him.

75.     LMPD claimed to have found a weapon of an unknown type that fell from

Joshua’s person while in the ambulance but obviously the weapon was not discovered or

used to threaten Santos. The gun was identified as the same gun that was held in

evidence from another crime.


The City of La Marque Failed to Discipline Santos for the shooting, or untruthfulness

surrounding the events involving Joshua’s death.


76.     Despite all of the inconsistencies and implausible versions of events provided by

Defendant Santos, his employer--the City of La Marque- failed to discipline Defendant

Santos in any meaningful way.

77.     Indeed, the City of La Marque did not terminate Santos in the wake of shooting

and killing Joshua or after the use of force against other leading up to killing Joshua and

the failure to discipline was the moving force behind the constitutional violation against

Joshua.

78.     He knew he would not be disciplined, and he would be protected from any


                                                                  Jones v. LaMarque000017
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discipline, including being criminally charged. The city of La Marque never treated

Santos as a murder suspect.

79.     Instead, records indicate that Defendant Santos continued with his employment

after the killing and was awarded. The City of La Marque Ratified and condone the

conduct of Santos.

80.     Jose Santos was awarded a certificate in the past after his use of unnecessary

excessive force and continues his role as a gypsy cop. Santos was also promoted to

Sargent at the La Marque Police Department.

81.     By reason of the aforementioned acts and omissions, Plaintiffs have suffered loss

of life, loss of love, companionship, affection, comfort, care, society, training, guidance,

and past and future support of Joshua.

82.     The aforementioned acts and omissions also caused Joshua’s conscious pain and

suffering, loss of enjoyment of life, and death.


                                          CLAIMS:

                            FIRST CLAIM FOR RELIEF
         Unreasonable Search and Seizure-Detention and Arrest-42 U.S.C.§ 1983
                     Against Jose Santos and Chief Kirk Jackson

83.     Plaintiff adopts and incorporates by reference each and every factual allegation

throughout the complaint as though fully set forth herein.

84.     There was no reasonable suspicion and certainly not probable cause to believe that

Joshua had committed any crimes or to stop Joshua.

85.     Joshua was not a fleeing felon.


                                                                  Jones v. LaMarque000018
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86.     Santos was working as police officers for the City of La Marque Police

Department and acting with the course and scope of their duties, acted intentionally.

Defendants Santos and Jackson acted without lawful authority and without the Plaintiffs’

consent; Defendant Santos’ act resulted in the direct restraint of Joshua’s liberty or

freedom of movement by actual force inflicted on Joshua.

87.      Santos is liable for Joshua’s injuries. The conduct of Officer Santos was

malicious, wanton, oppressive, and accomplished with a conscious disregard for the

rights of Joshua, entitling Plaintiffs to an award of exemplary and punitive damages.

88.     Plaintiffs bring this claim individually and as heirs and administrator of the Estate

and seek both survival and wrongful death damages under this claim. Plaintiffs also seek

attorney’s fees under this claim.


                         SECOND CLAIM FOR RELIEF
      Unreasonable Search and Seizure-Excessive Deadly Force-42 U.S. C. § 1983
                               Against Jose Santos

89.     Plaintiff adopts and incorporates by reference each and every factual allegation

throughout the complaint as though fully set forth herein.

90.     Defendant Santos used unreasonable force against Joshua when he fired his

weapon and shot Joshua in the back because he ran away from Santos. Santos used

unreasonable force, Joshua was harmed and ultimately died.

91.     Defendant Santos’s action of shooting Joshua in the back because he ran from him

violated Joshua’s constitutional rights, including but not limited to those under the

Fourth and Fourteenth Amendments of the United States Constitution. Santos failed to


                                                                   Jones v. LaMarque000019
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render aid denying Joshua medical care for his serious medical needs.

92.     The misconduct described in this claim shooting an unarmed Joshua in his back

because he ran was objectively unreasonable and undertaken with willfulness and

reckless indifference to the rights of others.

93.     Joshua was not armed, posed no immediate threat to the safety of the officer or the

public, he did not resist arrest, he was not dangerous and exigent circumstances existed

at the time of the stop to and he was non-resistant.

94.     Joshua was an unarmed citizen when he was shot. In addition, the misconduct and

excessive force described in this claim “shocks the conscience”.

                       THIRD CLAIM FOR RELIEF
Unreasonable Search and Seizure-Denial of Medical Care-42 U.S.C. §1983 Against
                                 Jose Santos

95.     Plaintiff adopts and incorporates by reference each and every factual allegation

throughout the complaint as though fully set forth herein.

96.     After Joshua was in the back he fell to the ground and he was bleeding, moaning,

groaning from pain, and in obvious and critical need of emergency medical care and

treatment.

97.     However, rather than treating Joshua immediately or calling for medical personnel

or EMS to treat his injuries that resulted from the gunshot wounds Defendant, Officer

Santos used unreasonable force and kicked and handcuffed Joshua, pursuant to City of

La. Marque Policy.

98.     The denial and delay of medical care to Joshua caused Joshua extreme physical




                                                                   Jones v. LaMarque000020
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and emotional pain and suffering and was a contributing cause of Joshua’s death.

99.      The denial of medical care by the officers, Santos deprived Joshua the right to be

secure in his person against unreasonable searches and seizures as guaranteed to Joshua

under the Fourth Amendment to the United States Constitution and applied to state

actors by the Fourteenth Amendment.

100. Joshua was more likely than not frightened, suffered conscious pain and suffering,

great physical pain and emotional distress up to the time of his death, and also suffered

loss of enjoyment of life, loss of life, and loss of earning capacity.

101. The Officer Santos knew that failure to provide timely medical treatment to

Joshua could result in further significant injury or the unnecessary and wanton infliction

of pain, but disregarded that serious medical need, causing Joshua great bodily harm and

death.

102. The conduct of the officer defendant, Santos, was willful, wanton, malicious, and

done with reckless disregard for the rights and safety of Joshua and therefore warrants

the imposition of exemplary and punitive damages to the officer defendants.

103. As a result of their misconduct, the officer defendants, Santos, and Jackson , are

liable for Joshua’s injuries, either because they were integral participants in the denial of

medical care, or because they failed to intervene to prevent these violations.

                            FOURTH CLAIM FOR RELIEF
                            Equal Protection-42 U.S.C. §1983
                  Against City of La Marque, Jose Santos and Kirk Jackson

104. Plaintiff adopts and incorporates by reference each and every factual allegation




                                                                    Jones v. LaMarque000021
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throughout the complaint as though fully set forth herein.

105. In the manner specifically described in this complaint, Defendant Santos violated

Joshua’s constitutional rights intentionally subjecting him to unlawful, unequal treatment

on the basis of his race, black in violation of the Fourteenth Amendment of United States

Constitution.

106. Defendant Santos’ conduct created discriminatory effects by targeting Joshua for

police action based on his race, black, and gender.

107. The misconduct described was objectively unreasonable and was undertaken

intentionally with willful indifference to Joshua’s constitutional rights.

                      SEVENTH CLAIM FOR RELIEF
  Wrongful Death and Survival- 42 U.S.C. §1983, 1988, and Tex. CPRC §71.002-
       71.021 Against City of La Marque, and Jose Santos and Kirk Jackson

108. Plaintiff adopts and incorporates by reference each and every factual allegation

throughout the complaint as though fully set forth herein.

109. Defendant Santos actions toward Joshua violated his constitutional rights and

wrongfully caused the death of Joshua, and without those actions, the death of Joshua

would not have occurred.

110. Prior to his death, Joshua suffered serious personal injuries including but not

limited to severe pain and emotional distress during the period after he was shot but

before he died from the gunshot wounds Defendant Santos inflicted upon him.

111. Mr. Adrian Jones suffered from pecuniary loss as a result of the wrongful death of

Joshua. Joshua’s mother, children, and child’s mother having bystander liability also,




                                                                    Jones v. LaMarque000022
     Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 23 of 45




suffered loss of companionship and mental anguish as a result of the wrongful death of

Joshua.


Survival Action


112. Defendant Santos ’actions toward Joshua violated Joshua’s constitutional rights

and wrongfully caused the death of Joshua Feast, Sr.

113. Prior to his death, Joshua suffered serious personal injuries including but not

limited to severe pain and emotional distress during the period after he was shot and

before he died.

114. Plaintiff, the Estate of Joshua Feast, which includes his heirs, has standing to

assert this claim pursuant to Tex. Civ. Prac. & Rem. Code Section §71.0004(a) through

42 USC 1988.

                        EIGHTH CLAIM FOR RELIEF
                      42 U.S.C. §1983-Municipal Liability:
            Monell And Negligent Hiring against the City of La Marque

115. Plaintiff adopts and incorporates by reference each and every factual allegation

throughout the complaint as though fully set forth herein.

116. As described in the preceding paragraphs the misconduct described in was

undertaken under the policy and practice of the City of La Marque through its Chief of

police Kirk Jackson, such that Defendant City of La Marque is also liable, in that:

a.     As a matter of both policy and practice, the City of La Marque encourages, and is

thereby the moving force behind, the very type of misconduct at issue in the foregoing



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paragraphs by failing to adequately train, supervise, control and discipline its officers

such that its failure to do so manifests deliberate indifference;

b.     As a matter of both policy and practice, the City of La Marque facilitates the very

type of misconduct at issue in the preceding paragraphs by failing to adequately

investigate, punish, and discipline prior instances of similar misconduct, thereby leading

La Marque police officers to believe their actions will never be meaningfully scrutinized.

Accordingly, in that way, the City of La Marque directly encouraging future uses of

excessive deadly force, unlawful detention, failures to intervene, and race-based policing

and discriminating against the mentally ill such as those Plaintiff complains of.

Generally, as a matter of widespread practice so prevalent as to comprise municipal

policy, officers of the La Marque Police Department violate the constitutional right of

individuals in a manner similar to that alleged by Joshua in this complaint on a regular

basis, yet the La Marque Police Department investigates officer misconduct and makes

findings of wrongdoing in a disproportionately small number of cases.

117. As a result of the City of La Marque’s policies and practices, and the unjustified

and unreasonable conduct of the Defendant Santos, Plaintiff has suffered injuries,

including severe emotional distress and ultimately death.

118. The City of La Marque has ratified each use of deadly force by its officers as

demonstrated through its actions after the use of deadly force.

119. Chiefs of Police Jackson, as the City of La Marque, has ratified its officers’

conduct in nearly every case of use of deadly force by its officers.




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120. Santos did a “walk-through” of the crime scene. The walk-through consisted of

Defendant Santos’s walking through the scene and explaining where certain things had

happened.

121. No gun was pointed at Santos at any time.

122. Santos shot Joshua because Joshua ran from him. Upon review of the adulterated

spoiled body cam video footage removing the audio from the publicly released video it

still show that Santos shot Joshua in the back while he was never a threat of imminent

harm to him.


The final policymaker determined that the acts of the officer defendants were “within

policy.”


123. Kirk Jackson, the LMPD Chief of police, has not found the discipline for the use

of force by one of his officers.

124. The City of La Marque may be liable if its policymakers condone or otherwise

adopt the creation of a custom by knowingly ratifying the illegal or unconstitutional

actions of subordinate, non- policymaking employees.

125. The use of force as justified by the Chief of police, absence of immediate danger,

and the use of force by Santos is not justified, because Joshua did not point a weapon at

Santos or place Santos or anyone else in threat of danger of harm.

126. The officers engaging in unreasonable use of deadly force in LMPD have not been

disciplined, reprimanded, retrained, suspended or otherwise penalized in connection with




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Joshua’s death or prior to the death involving the death of any others leading up to the

death of Joshua.

127. By reason of the aforementioned acts and omissions, Plaintiffs have suffered loss

of the love, companionship, affection, comfort, care, society, training, guidance, and past

and future support of Joshua. The aforementioned acts and omission also caused

Joshua’s pain and suffering, loss of enjoyment of life, and death.

128. The officer defendants acted pursuant either to an expressly adopted official

policy or a longstanding practice or custom of the defendant, City of La Marque

129. The officer defendants were not disciplined, reprimanded, retrained, suspended, or

otherwise penalized in connection with Joshua’s death.

130. Defendants City and the officer defendants, together with. other city policymakers

and supervisors, maintained, inter alia, the following unconstitutional customs, practices,

and policies

131. The unconstitutional customs, practices, and policies, in addition to the ratification

of the deficient customs, practices, and policies, are evidenced by the number of prior

cases involving the use of deadly force against an unarmed person by a police officer

working for the City. When the injuries result from the execution of a governmental

policy the acts here may be fair to be said to represent official policy.

132. By reason of the aforementioned acts and omissions, Plaintiffs have suffered the

loss of the love, companionship, affection, comfort, care, society, training, guidance, and

past and future support of Joshua. The aforementioned acts and omissions also caused




                                                                     Jones v. LaMarque000026
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Joshua’s pain and suffering, loss of enjoyment of life, and death.

133. Defendants City and officers, together with various other officials, whether named

or unnamed, had either actual or constructive knowledge of the deficient policies,

practices, and customs alleged in the paragraphs above.

134. Despite having knowledge as stated above, these defendants condoned, tolerated,

and through actions and inactions thereby ratified such policies. Said defendants also

acted with deliberate indifference to the foreseeable effects and consequences of these

policies with respect to the constitutional rights of Joshua, Plaintiffs, and other

individuals similarly situated.

135. By perpetrating, sanctioning, tolerating, and ratifying the outrageous conduct and

other wrongful acts, Officers Santos acted with intentional, reckless, and callous

disregard for the life of Mr. Joshua Feast and for Joshua Feast’s and Plaintiffs’

constitutional rights. Furthermore, the policies, practices, and customs implemented,

maintained, and still tolerated by Defendants City of La Marque and Officer Santos and

Jackson were affirmatively linked to and were a significantly influential and moving

force behind the injuries of Mr. Joshua Feast and Plaintiffs.


Failure to Train


136. Plaintiff adopts and incorporates by reference each and every factual allegation

throughout the complaint as though fully set forth herein.

137. The officer defendants acted under the color of law.




                                                                     Jones v. LaMarque000027
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138. The acts of the officer defendants deprived Joshua and Plaintiffs of their particular

rights under the United States Constitution.

139. The training policies of Defendant City were not adequate to train its police

officers to handle the usual and recurring situations with which they must deal, including

with regard to the use of force, de-escalation of the mentally ill, crisis intervention

training, and racial profiling, rendering life-saving measures during police-involved

shooting and implicit bias.

140. Defendant City of La Marque was deliberately indifferent to the obvious

consequences of its failure to train its police officers adequately, including with regard to

use of force, and rendering medical aid.

141. The failure of Defendant City to provide adequate training caused the deprivation

of Plaintiff’s rights by the Officer defendant; that is, the defendants; failure to train is so

closely related to the deprivation of Joshua and the Plaintiffs’ right as to be the moving

force that caused the ultimate injury, Joshua’s death.

142. By reason of the aforementioned acts and omissions, Plaintiffs have suffered loss

of the love, companionship, affection, comfort, care, society, training, guidance, and past

and future support of Joshua. The aforementioned acts and omissions also caused

Joshua’s pain and suffering, loss of enjoyment of life, and death.


                              IV. PLAINTIFFS’ DAMAGES


143. The Defendants’ actions imposed substantial harm on Joshua during the period of




                                                                     Jones v. LaMarque000028
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time after which Defendant Santos until Joshua shot him ultimately passed away. The

amount of excruciating pain Joshua felt during those final moments is unquantifiable.

144. In addition, Joshua children lost the opportunity to be raised by their father and

see their major life events, as did his father loss the

145. The opportunity to earn wages based on his experience; and the ability to see his

son graduate from college. These damages are tragic and substantial.

146. Likewise, Joshua’s children growing up as young men without a father, Joshua

Feast’s parents have suffered an immeasurable loss continuing life without their son:

Their lives are now forever altered by the difficulties that the children and their

grandparents will face as a result of his Joshua’s death.

147. Joshua’s parents were close with their son and will never again have this

relationship further harms them as a result of the actions taken subsequent to the killing

due to authorities’ failure hold the Defendant Jose Santos accountable for his actions and

also by the substantial life changes that they have had to endure in assisting with the

guidance for Joshua Feast’s children.

148. Plaintiffs bring their claim as heirs of Joshua’s estate seeks both survival and

wrongful death damages for the violation of Joshua’s rights.

149. Plaintiff is entitled to recover reasonable attorney’s fees and costs to enforce his

Constitutional rights under 42 U.S. 1983 and 1988 from defendants.


Loss of Consortium




                                                                 Jones v. LaMarque000029
     Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 30 of 45




150. Each individual heir and plaintiff assert a claim for loss of consortium based upon

the action by Santos and the City of La Marque resulting in Joshua Feast Sr.'s death.

151. Plaintiffs request entry of judgment in their favor and against Defendants City of

La Marque, Jose Santos, and Chief Jackson inclusive, as follows:

a.     For compensatory damages, including both survival damages and wrongful death

damages under federal and state law, in the amount proven at trial;

b.     For fright, loss of life, loss of liberty, funeral and burial expenses, and loss of

companionship and financial support;

c.     For punitive damages against the individual defendants in an amount to be proven

at trial; For loss of consortium;

d.     For prejudgment and post-judgment interest;

e.     For reasonable attorney’s fees, including litigation expenses; For costs of suit ;

f.     For emotional distress, and mental anguish up to the time of his death;

g.     For loss of enjoyment of life;

h.     For deprivation of physical liberty, security, and loss of life;

i.     For pre-death pain and suffering and loss of earning capacity;. For such further

other relief as the Court may deem just, proper and appropriate.

Respectfully submitted,
/s/U. A. Lewis
U. A. Lewis
State Bar No. 24076511 Federal Bar No.
1645666
P. O. Box 27353
Houston, TX 77227
Telephone: (713)570-6555


                                                                    Jones v. LaMarque000030
  Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 31 of 45




Facsimile: (713) 581-1017
ATTORNEY FOR PLAINTIFFS




                                                        Jones v. LaMarque000031
            Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 32 of 45



          The District Courts of Galveston County, Texas Status Conference Notice

                                     Please calendar this event
          All Status Conferences will be set for Thursdays (subject to exceptions for county holidays)

         Court Name               Status Conference Time                       Court Phone Number
  th
10 District Court                      @ 9:00 A.M.             409‐766‐2230          Fax       409‐770‐5266
56th District Court                    @ 9:30 A.M.             409‐766‐2226          Fax       409‐770‐5264
122nd District Court                   @ 9:30 A.M.             409‐766‐2275          Fax       409‐770‐6265
212th District Court                   @ 9:00 A.M.             409‐ 766‐2266         Fax       409‐765‐2610
405th District Court                   @ 10:00 A.M.            409‐765‐2688          Fax       409‐765‐2689


                           Date: 02/23/2023 set in the 122nd District Court

Case Number: 22‐CV‐2219
Case Style: ADRIAN JONES, ET AL vs. CITY OF LA MARQUE, Et Al

Helpful Information: Please visit our website at
http://www.galvestoncountytx.gov/dc/Pages/default.aspx

FAQ

Forms

Fee Schedules

Remote Access to on‐line case record searches

Contact and Mailing information

Passport Services

E Filing Information

Helpful Links to Legal Resources and sites

Notice: If this case is filed as an expedited action pursuant to Rule 169 of the Texas Rules of Civil Procedure,
please contact the Court to inform them of the same as soon as possible.




                             JOHN D. KINARD, District Clerk, Galveston County, Texas
        District Clerk Personnel proudly serving our customers, community, and supporting the Judiciary


                                                                                 Jones v. LaMarque000032
           Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 33 of 45


Kain, Rolande

From:              Microsoft Outlook
To:                myattorneyatlaw@gmail.com
Sent:              Tuesday, November 22, 2022 9:03 AM
Subject:           Relayed: 22-CV-2219 Status Conference Sheet - ADRIAN JONES, ET AL vs. CITY OF LA MARQUE, Et
                   Al



Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:

myattorneyatlaw@gmail.com (myattorneyatlaw@gmail.com)

Subject: 22-CV-2219 Status Conference Sheet - ADRIAN JONES, ET AL vs. CITY OF LA MARQUE, Et Al




                                                        1
                                                                                Jones v. LaMarque000033
      1 Citation to issue assigned to EA
            Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 34 of Filed:
                                                                                 45 11/22/2022 5:41 PM
                     LEWIS LAW GROUP REQUEST FOR ISSUANCE OF SERVICE        JOHN D. KINARD - District Clerk
                                                                                  Galveston County, Texas
                                                                                                    Envelope No. 70423009
              22-CV-2219
CASE NUMBER: _______________________________                        Galveston County - 122nd District Court
                                                                                                       By: Ann Vaughn
                                                   CURRENT COURT: ___________________________________________
                                                                                                       11/23/2022 9:31 AM
Name(s) of Documents to be served: Citation/ Petition__________________________________________________

FILE DATE: ______________________ Month/Day/Year

                              CITY OF LA MARQUE
Issue Service to Defendant: ________________________________________________________________
Address of Service: ________________________________________________________________________
                     1111 Bayou
                    La Marque, TX 77568 or wherever he may be found
City, State & Zip:__________________________________________________________________________
                       c/o City Mayor Keith Bell
Agent (if applicable) ________________________________________________________________________
TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)
X    Citation          Citation by Posting       Citation by Publication          Citations Rule 106 Service
    Citation Scire Facias       Newspaper______________
    Temporary Restraining Order                 Precept                             Notice
    Protective Order
    Secretary of State Citation ($12.00)       Capias (not by E-Issuance)           Attachment (not by E-Issuance)
    Certiorari                                 Highway Commission ($12.00)
    Commissioner of Insurance ($12.00)         Hague Convention ($16.00)            Garnishment
    Habeas Corpus (not by E-Issuance)          Injunction                           Sequestration
    Subpoena
    Other (Please Describe) ___________________________________
(See additional Forms for Post Judgment Service)
    SERVICE BY E-Issuance by Clerk to OFFICE@THELEWISLAW.COM, and
  ATTORNEY PICK-UP (phone) 713-570-6555
x MAIL to attorney at: 99 DETERING #104, HOUSTON, TEXAS 77007
  CONSTABLE
  CERTIFIED MAIL by District Clerk
  CIVIL PROCESS SERVER - Authorized Person to Pick-up: ________________ Phone: __________
   OTHER, explain ______________________________________________________________________

Issuance of Service Requested By: Attorney: U.A. Lewis; Bar # :24076511
Mailing Address: 99 DETERING #104, HOUSTON, TEXAS 77007______
Phone Number: 713-570-6555______________________________________




                                                                               Jones v. LaMarque000034
       Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 35 of 45

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This automated certificate of service was created by the efiling system.
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certificate of service that complies with all applicable rules.

U.A. Lewis on behalf of U.A. Lewis
Bar No. 24076511
myattorneyatlaw@gmail.com
Envelope ID: 70423009
Status as of 11/23/2022 9:31 AM CST

Case Contacts

Name         BarNumber   Email                       TimestampSubmitted      Status

U.A. LEWIS               MYATTORNEYATLAW@GMAIL.COM   11/22/2022 5:41:48 PM   SENT




                                                                Jones v. LaMarque000035
                   1 Citation to issue assigned to EA
            Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 36 of Filed:
                                                                                 45 11/22/2022 5:41 PM
                   LEWIS LAW GROUP REQUEST FOR ISSUANCE OF SERVICE          JOHN D. KINARD - District Clerk
                                                                                  Galveston County, Texas
                                                                                                    Envelope No. 70423009
              22-CV-2219
CASE NUMBER: _______________________________                        Galveston County - 122nd District Court
                                                                                                       By: Ann Vaughn
                                                   CURRENT COURT: ___________________________________________
                                                                                                       11/23/2022 9:31 AM
Name(s) of Documents to be served: Citation/ Petition__________________________________________________

FILE DATE: ______________________ Month/Day/Year

                            JOSE SANTOS
Issue Service to Defendant: ________________________________________________________________
Address of Service: ________________________________________________________________________
                     431 Bayou Road
                    La Marque, TX 77568 or wherever he may be found
City, State & Zip:__________________________________________________________________________
Agent (if applicable) ________________________________________________________________________
TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)
X    Citation          Citation by Posting       Citation by Publication          Citations Rule 106 Service
    Citation Scire Facias       Newspaper______________
    Temporary Restraining Order                 Precept                             Notice
    Protective Order
    Secretary of State Citation ($12.00)       Capias (not by E-Issuance)           Attachment (not by E-Issuance)
    Certiorari                                 Highway Commission ($12.00)
    Commissioner of Insurance ($12.00)         Hague Convention ($16.00)            Garnishment
    Habeas Corpus (not by E-Issuance)          Injunction                           Sequestration
    Subpoena
    Other (Please Describe) ___________________________________
(See additional Forms for Post Judgment Service)
    SERVICE BY E-Issuance by Clerk to OFFICE@THELEWISLAW.COM, and
  ATTORNEY PICK-UP (phone) 713-570-6555
x MAIL to attorney at: 99 DETERING #104, HOUSTON, TEXAS 77007
  CONSTABLE
  CERTIFIED MAIL by District Clerk
  CIVIL PROCESS SERVER - Authorized Person to Pick-up: ________________ Phone: __________
   OTHER, explain ______________________________________________________________________

Issuance of Service Requested By: Attorney: U.A. Lewis; Bar # :24076511
Mailing Address: 99 DETERING #104, HOUSTON, TEXAS 77007______
Phone Number: 713-570-6555______________________________________




                                                                               Jones v. LaMarque000036
       Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 37 of 45

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U.A. Lewis on behalf of U.A. Lewis
Bar No. 24076511
myattorneyatlaw@gmail.com
Envelope ID: 70423009
Status as of 11/23/2022 9:31 AM CST

Case Contacts

Name         BarNumber   Email                       TimestampSubmitted      Status

U.A. LEWIS               MYATTORNEYATLAW@GMAIL.COM   11/22/2022 5:41:48 PM   SENT




                                                                Jones v. LaMarque000037
          1 citation to issue assigned to EA
            Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 38 of Filed:
                                                                                 45 11/22/2022 5:41 PM
                     LEWIS LAW GROUP REQUEST FOR ISSUANCE OF SERVICE        JOHN D. KINARD - District Clerk
                                                                                  Galveston County, Texas
                                                                                                    Envelope No. 70423009
              22-CV-2219
CASE NUMBER: _______________________________                        Galveston County - 122nd District Court
                                                                                                       By: Ann Vaughn
                                                   CURRENT COURT: ___________________________________________
                                                                                                       11/23/2022 9:31 AM
Name(s) of Documents to be served: Citation/ Petition__________________________________________________

FILE DATE: ______________________ Month/Day/Year

                            CHIEF KIRK JACKSON
Issue Service to Defendant: ________________________________________________________________
Address of Service: ________________________________________________________________________
                     431 Bayou Road
                    La Marque, TX 77568 or wherever he may be found
City, State & Zip:__________________________________________________________________________
Agent (if applicable) ________________________________________________________________________
TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)
X    Citation          Citation by Posting       Citation by Publication          Citations Rule 106 Service
    Citation Scire Facias       Newspaper______________
    Temporary Restraining Order                 Precept                             Notice
    Protective Order
    Secretary of State Citation ($12.00)       Capias (not by E-Issuance)           Attachment (not by E-Issuance)
    Certiorari                                 Highway Commission ($12.00)
    Commissioner of Insurance ($12.00)         Hague Convention ($16.00)            Garnishment
    Habeas Corpus (not by E-Issuance)          Injunction                           Sequestration
    Subpoena
    Other (Please Describe) ___________________________________
(See additional Forms for Post Judgment Service)
    SERVICE BY E-Issuance by Clerk to OFFICE@THELEWISLAW.COM, and
  ATTORNEY PICK-UP (phone) 713-570-6555
x MAIL to attorney at: 99 DETERING #104, HOUSTON, TEXAS 77007
  CONSTABLE
  CERTIFIED MAIL by District Clerk
  CIVIL PROCESS SERVER - Authorized Person to Pick-up: ________________ Phone: __________
   OTHER, explain ______________________________________________________________________

Issuance of Service Requested By: Attorney: U.A. Lewis; Bar # :24076511
Mailing Address: 99 DETERING #104, HOUSTON, TEXAS 77007______
Phone Number: 713-570-6555______________________________________




                                                                               Jones v. LaMarque000038
       Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 39 of 45

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U.A. Lewis on behalf of U.A. Lewis
Bar No. 24076511
myattorneyatlaw@gmail.com
Envelope ID: 70423009
Status as of 11/23/2022 9:31 AM CST

Case Contacts

Name         BarNumber   Email                       TimestampSubmitted      Status

U.A. LEWIS               MYATTORNEYATLAW@GMAIL.COM   11/22/2022 5:41:48 PM   SENT




                                                                Jones v. LaMarque000039
              Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 40 of 45
                                             CITATION
                                                     -     -      -     -      -     -      -     -

                                                          THE STATE OF TEXAS

                                                                                             Cause No.: 22‐CV‐2219
ADRIAN JONES, ET AL VS. CITY OF LA MARQUE, ET AL
                                                                                             122nd District Court of Galveston County

TO:     CITY OF LA MARQUE
        c/o City Mayor, Keith Bell
        1111 Bayou
        La Marque, TX 77568 or wherever he may be found


GREETINGS: YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written answer with the Clerk
who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days from the date you were served this
citation and petition/motion, a default judgment may be taken against you. In addition to filing a written answer with the clerk, you
may be required to make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30
days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

Said written answer may be filed by mailing same to: District Clerk's Office, 600 59th Street, Suite 4001, Galveston, Texas 77551‐2388.
The case is presently pending before the 122nd District Court of Galveston County sitting in Galveston, Texas, and the Original Petition ‐
OCA was filed November 21, 2022. It bears cause number 22‐CV‐2219 and see the attached petition/motion for named parties to the
suit.

Issued and given under my hand and the seal of said court at Galveston, Texas, on this the 28th day of November, 2022.

Issued at the request of:                                                                   John D. Kinard, District Clerk
UA Lewis                                                                                    Galveston County, Texas
PO Box 27353
Houston TX 77227



                                                                                     By     Elissa Alvarado, Deputy



           The District Courts of Galveston County, Texas Status Conference Notice
                                   Please calendar this event
          All Status Conferences will be set for Thursdays (subject to exceptions for county holidays)
        Court Name               Status Conference Time                     Court Phone Number
  th
10 District Court                      @ 9:00 A.M.             409‐766‐2230           Fax        409‐770‐5266
  th
56 District Court                      @ 9:30 A.M.             409‐766‐2226           Fax        409‐770‐5264
    nd
122 District Court                     @ 9:30 A.M.             409‐766‐2275           Fax        409‐770‐6265
    th
212 District Court                     @ 9:00 A.M.             409‐ 766‐2266          Fax        409‐765‐2610
405th District Court                   @ 10:00 A.M.            409‐765‐2688           Fax        409‐765‐2689

                  Date :02/23/2023 set in the 122nd District Court ‐ Judge John Ellisor




                                                                                                   Jones v. LaMarque000040
              Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 41 of 45

                                                     RETURN OF SERVICE
Case No. 22‐CV‐2219                                                          In the 122nd District Court
                                         ADRIAN JONES, ET AL vs. CITY OF LA MARQUE, Et Al

Come to hand on _______________________ at ______ o’clock _____.m., and executed in ________________________County,
Texas by delivering to each of the within named party in person, a true copy of the CITATION with the delivery endorsed thereon,
together with the accompanying copy of the Original Petition ‐ OCA at the following times and places, to wit:

To:   CITY OF LA MARQUE
      c/o City Mayor, Keith Bell
      1111 Bayou
      La Marque, TX 77568 or wherever he may be found

SERVED:                                                  ADDRESS/LOCATION
DATE             TIME                             PLACE, COURSE, AND DISTANCE FROM COURT HOUSE                                 MILEAGE




and NOT executed as to said above named defendant for the reasons shown below:

The diligence used in finding said within named defendant and the cause or failure to execute this process is for the following

reason:______________________________________________________________________________________________________
____________________________________________________________________________________________________________
  FEES: Serving CITATION and copy $_____________
                                                 Mileage _______ miles @ $__________ per mile Total $___________
 TOTAL FEES AND MILEAGE $

Signed on _____________day of ________________________, 20________________________________________________Officer

                                                              __________________________________________________County, TX

                                                              ______________________________________Deputy /Officer Signature

          COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF COURT
In accordance with rule 107 (c).The officer or authorized person who serves, or attempts to serve, a citation shall sign the return.
The signature is not required to be verified. If the return is signed by a person other than a sheriff, constable, or clerk of the court
the return shall be signed under penalty of perjury and contain the following statement.

“My name is _____________________________________________________________, my date of birth is__________________
                   (First)          (Middle)            (Last)

And my address is _________________________________________________________________________________________
                                             Street, City, State, Zip, County

                     “I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.”

Executed in ______________________________ County, State of ______________________, on __________________________.


          Declarant/Authorized Process Server Signature                               ID# and expiration of certification




                                                                                                  Jones v. LaMarque000041
              Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 42 of 45
                                             CITATION
                                                    -     -      -     -      -     -      -     -




                                                          THE STATE OF TEXAS

                                                                                             Cause No.: 22‐CV‐2219
ADRIAN JONES, ET AL VS. CITY OF LA MARQUE, ET AL
                                                                                             122nd District Court of Galveston County

TO:     JOSE SANTOS
        431 Bayou Road
        La Marque, TX 77568 or wherever he may be found


GREETINGS: YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written answer with the Clerk
who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days from the date you were served this
citation and petition/motion, a default judgment may be taken against you. In addition to filing a written answer with the clerk, you
may be required to make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30
days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

Said written answer may be filed by mailing same to: District Clerk's Office, 600 59th Street, Suite 4001, Galveston, Texas 77551‐2388.
The case is presently pending before the 122nd District Court of Galveston County sitting in Galveston, Texas, and the Original Petition ‐
OCA was filed November 21, 2022. It bears cause number 22‐CV‐2219 and see the attached petition/motion for named parties to the
suit.

Issued and given under my hand and the seal of said court at Galveston, Texas, on this the 29th day of November, 2022.

Issued at the request of:                                                                   John D. Kinard, District Clerk
UA Lewis                                                                                    Galveston County, Texas
PO Box 27353
Houston TX 77227



                                                                                     By     Elissa Alvarado, Deputy



           The District Courts of Galveston County, Texas Status Conference Notice
                                   Please calendar this event
          All Status Conferences will be set for Thursdays (subject to exceptions for county holidays)
        Court Name               Status Conference Time                     Court Phone Number
  th
10 District Court                      @ 9:00 A.M.             409‐766‐2230           Fax        409‐770‐5266
  th
56 District Court                      @ 9:30 A.M.             409‐766‐2226           Fax        409‐770‐5264
    nd
122 District Court                     @ 9:30 A.M.             409‐766‐2275           Fax        409‐770‐6265
    th
212 District Court                     @ 9:00 A.M.             409‐ 766‐2266          Fax        409‐765‐2610
405th District Court                   @ 10:00 A.M.            409‐765‐2688           Fax        409‐765‐2689

                  Date :02/23/2023 set in the 122nd District Court ‐ Judge John Ellisor




                                                                                                   Jones v. LaMarque000042
              Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 43 of 45

                                                     RETURN OF SERVICE
Case No. 22‐CV‐2219                                                          In the 122nd District Court
                                         ADRIAN JONES, ET AL vs. CITY OF LA MARQUE, Et Al

Come to hand on _______________________ at ______ o’clock _____.m., and executed in ________________________County,
Texas by delivering to each of the within named party in person, a true copy of the CITATION with the delivery endorsed thereon,
together with the accompanying copy of the Original Petition ‐ OCA at the following times and places, to wit:

To:   JOSE SANTOS
      431 Bayou Road
      La Marque, TX 77568 or wherever he may be found

SERVED:                                                  ADDRESS/LOCATION
DATE             TIME                             PLACE, COURSE, AND DISTANCE FROM COURT HOUSE                                 MILEAGE




and NOT executed as to said above named defendant for the reasons shown below:

The diligence used in finding said within named defendant and the cause or failure to execute this process is for the following

reason:______________________________________________________________________________________________________
____________________________________________________________________________________________________________
  FEES: Serving CITATION and copy $_____________
                                                 Mileage _______ miles @ $__________ per mile Total $___________
 TOTAL FEES AND MILEAGE $

Signed on _____________day of ________________________, 20________________________________________________Officer

                                                              __________________________________________________County, TX

                                                              ______________________________________Deputy /Officer Signature

          COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF COURT
In accordance with rule 107 (c).The officer or authorized person who serves, or attempts to serve, a citation shall sign the return.
The signature is not required to be verified. If the return is signed by a person other than a sheriff, constable, or clerk of the court
the return shall be signed under penalty of perjury and contain the following statement.

“My name is _____________________________________________________________, my date of birth is__________________
                   (First)          (Middle)            (Last)

And my address is _________________________________________________________________________________________
                                             Street, City, State, Zip, County

                     “I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.”

Executed in ______________________________ County, State of ______________________, on __________________________.


          Declarant/Authorized Process Server Signature                               ID# and expiration of certification




                                                                                                  Jones v. LaMarque000043
              Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 44 of 45

                                                               CITATION
                                                    -     -      -     -      -      -     -      -




                                                          THE STATE OF TEXAS

                                                                                             Cause No.: 22‐CV‐2219
ADRIAN JONES, ET AL VS. CITY OF LA MARQUE, ET AL
                                                                                             122nd District Court of Galveston County

TO:     Chief Kirk Jackson
        431 Bayou Road
        La Marque, TX 77568 or wherever he may be found


GREETINGS: YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written answer with the Clerk
who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days from the date you were served this
citation and petition/motion, a default judgment may be taken against you. In addition to filing a written answer with the clerk, you
may be required to make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30
days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

Said written answer may be filed by mailing same to: District Clerk's Office, 600 59th Street, Suite 4001, Galveston, Texas 77551‐2388.
The case is presently pending before the 122nd District Court of Galveston County sitting in Galveston, Texas, and the Original Petition ‐
OCA was filed November 21, 2022. It bears cause number 22‐CV‐2219 and see the attached petition/motion for named parties to the
suit.

Issued and given under my hand and the seal of said court at Galveston, Texas, on this the 29th day of November, 2022.

Issued at the request of:                                                                   John D. Kinard, District Clerk
UA Lewis                                                                                    Galveston County, Texas
PO Box 27353
Houston TX 77227



                                                                                     By     Elissa Alvarado, Deputy



           The District Courts of Galveston County, Texas Status Conference Notice
                                   Please calendar this event
         All Status Conferences will be set for Thursdays (subject to exceptions for county holidays)
        Court Name              Status Conference Time                     Court Phone Number
  th
10 District Court                     @ 9:00 A.M.             409‐766‐2230           Fax        409‐770‐5266
  th
56 District Court                     @ 9:30 A.M.             409‐766‐2226           Fax        409‐770‐5264
122nd District Court                  @ 9:30 A.M.             409‐766‐2275           Fax        409‐770‐6265
    th
212 District Court                    @ 9:00 A.M.             409‐ 766‐2266          Fax        409‐765‐2610
    th
405 District Court                    @ 10:00 A.M.            409‐765‐2688           Fax        409‐765‐2689

                  Date :02/23/2023 set in the 122nd District Court ‐ Judge John Ellisor




                                                                                                   Jones v. LaMarque000044
              Case 3:23-cv-00065 Document 1-1 Filed on 03/02/23 in TXSD Page 45 of 45

                                                     RETURN OF SERVICE
Case No. 22‐CV‐2219                                                          In the 122nd District Court
                                         ADRIAN JONES, ET AL vs. CITY OF LA MARQUE, Et Al

Come to hand on _______________________ at ______ o’clock _____.m., and executed in ________________________County,
Texas by delivering to each of the within named party in person, a true copy of the CITATION with the delivery endorsed thereon,
together with the accompanying copy of the Original Petition ‐ OCA at the following times and places, to wit:

To:   Chief Kirk Jackson
      431 Bayou Road
      La Marque, TX 77568 or wherever he may be found

SERVED:                                                  ADDRESS/LOCATION
DATE             TIME                             PLACE, COURSE, AND DISTANCE FROM COURT HOUSE                                 MILEAGE




and NOT executed as to said above named defendant for the reasons shown below:

The diligence used in finding said within named defendant and the cause or failure to execute this process is for the following

reason:______________________________________________________________________________________________________
____________________________________________________________________________________________________________
  FEES: Serving CITATION and copy $_____________
                                                 Mileage _______ miles @ $__________ per mile Total $___________
 TOTAL FEES AND MILEAGE $

Signed on _____________day of ________________________, 20________________________________________________Officer

                                                              __________________________________________________County, TX

                                                              ______________________________________Deputy /Officer Signature

          COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF COURT
In accordance with rule 107 (c).The officer or authorized person who serves, or attempts to serve, a citation shall sign the return.
The signature is not required to be verified. If the return is signed by a person other than a sheriff, constable, or clerk of the court
the return shall be signed under penalty of perjury and contain the following statement.

“My name is _____________________________________________________________, my date of birth is__________________
                   (First)          (Middle)            (Last)

And my address is _________________________________________________________________________________________
                                             Street, City, State, Zip, County

                     “I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.”

Executed in ______________________________ County, State of ______________________, on __________________________.


          Declarant/Authorized Process Server Signature                               ID# and expiration of certification




                                                                                                  Jones v. LaMarque000045
